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                                                      U.S. Department of Justice

                                                      Channing D. Phillips
                                                      Acting United States Attorney

                                                      District of Columbia

                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530


                                                            July 28, 2021

Via Email and Electronic File Transfer

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                Re:   United States v. Ethan Nordean et al., Cr. No.: 21-cr-175 (TJK)

Dear Counsel:

        I write to memorialize another production related to the above-captioned case as part of
the government’s ongoing efforts to produce preliminary discovery on an expedited basis.
Specifically, today, the government produced via USAfx a collection of twenty-five surveillance
videos provided by the U.S. Capitol Police. These surveillance videos depict, among other
things, the movement of Joseph Biggs inside the Capitol. Please note that the materials provided
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       Please keep in mind that all of the items placed in the USAfx case-folder will be deleted
automatically – some in as few as 60 days. Please let me know immediately if you have been
unable to access and download the materials for your use in this case.

       Please contact me should you have any questions or concerns.


                                                   Sincerely yours,

                                                   CHANNING D. PHILLIPS
                                                   ACTING UNITED STATES ATTORNEY

                                            By:           /s/
                                                   Jason B.A. McCullough
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